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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

 

PLYMOUTH COUNTY RETIREMENT SYSTEM,
Individually and On Behalf of All Others Similarly | Case No. 1:19-cv-00982-CMH-MSN
Situated,

Plaintiff,
v.

GTT COMMUNICATIONS, INC., RICHARD D.
CALDER, JR., CHRIS MCKEE, MICHAEL
SICOLI, and GINA NOMELLINI,

Defendants.

 

 

 

_ ORDER PRELIMINARILY APPROVING SETTLEMENT AND
PROVIDING FOR NOTICE

 

WHEREAS, a class action is pending in this Court entitled Plymouth County Retirement
System v. GIT Communications, Inc. et al., 1:19-cv-00982-CMH-MSN (E.D. Va.) (the
“Action”);

WHEREAS, on July 30, 2019, Plymouth County Retirement System filed the initial class
action complaint in this Action, alleging violations of Sections 10(b) and 20(a) of the Securities
Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder (ECF No.
1);

WHEREAS, by order dated January 7, 2020, this Court appointed City of Atlanta Police
Pension Fund and City of Atlanta Firefighters’ Pension Fund as Lead Plaintiff (“Lead Plaintiff”
or “Plaintiff’) pursuant to the requirements of the Private Securities Litigation Reform Act of

1995 and approved Lead Plaintiff's selection of Saxena White P.A. (“Saxena White”) as Lead
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Counsel and Cohen Milstein Sellers & Toll PLLC (“Cohen Milstein”) as Liaison Counsel (ECF
No. 35);

WHEREAS, on February 28, 2020, Lead Plaintiff filed its Amended Class Action
Complaint for Violations of the Federal Securities Laws and Jury Trial Demand (the “Amended
Complaint,” ECF No. 42);

WHEREAS, by order dated September 10, 2020, this Court certified this Action to
proceed as a class action, and appointed Lead Plaintiff as Class Representative, Saxena White as
Class Counsel, and Cohen Milstein as Liaison Class Counsel (ECF No. 71);

WHEREAS, on October 12, 2020, Lead Plaintiff moved to file the Second Amended
Class Action Complaint for Violations of the Federal Securities Laws and Jury Trial Demand
(the “Second Amended Complaint” or “SAC,” ECF No. 72-2), asserting federal securities claims
on behalf of all persons or entities who purchased or otherwise acquired publicly traded common
stock of GTT Communications, Inc. (“GTT” or the “Company”) from February 26, 2018 to
August 7, 2019, inclusive, and who were damaged thereby (the “Settlement Class”)! and, by
order dated October 16, 2020, this Court granted such motion, rendering the SAC effective as of
that date (ECF No. 78);

WHEREAS, (a) Lead Plaintiff, on behalf of itself and the Settlement Class, and (b)
defendants GTT, Richard D. Calder, Jr., Chris McKee, Michael Sicoli, and Gina Nomellini

(collectively the “Defendants” and, together with Lead Plaintiff, the “Parties”) have entered into

 

1 Excluded from the Settlement Class are Defendants, the Officers and directors of GTT at all
relevant times, and all such excluded persons’ Immediate Family members, legal representatives,
heirs, agents, affiliates, predecessors, successors and assigns, and any entity in which any
excluded person has or had a controlling interest. Also excluded from the Settlement Class are
those persons who file valid and timely requests for exclusion in accordance with paragraph 13
below.
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a Stipulation and Agreement of Settlement dated December 14, 2020 (the “Stipulation”), that
provides for a complete dismissal with prejudice of the claims asserted in the SAC against
Defendant Releasees (as defined in the Stipulation) on the terms and conditions set forth in the
Stipulation, subject to the approval of this Court (the “Settlement”);

WHEREAS, unless otherwise defined herein, all capitalized words contained herein shall
have the same meanings as they have in the Stipulation;

WHEREAS, Lead Plaintiff has made a motion, pursuant to Rule 23 of the Federal Rules
of Civil Procedure, for an order preliminarily approving the Settlement in accordance with the
Stipulation, certifying the Settlement Class for purposes of the Settlement, and allowing notice to
Settlement Class Members, as more fully described herein;

WHEREAS, the Court has reviewed and considered: (a) Lead Plaintiff's unopposed
motion for preliminary approval of the Settlement, and the papers filed and arguments made in
connection therewith; (b) the Stipulation and the exhibits attached thereto; and (c) the record in
the Action, and good cause appearing therefore;

IT IS HEREBY ORDERED:

1. Class Certification for Settlement Purposes: Pursuant to Rules 23(a) and (b)(3)
of the Federal Rules of Civil Procedure, the Court certifies, solely for purposes of effectuating
the proposed Settlement, a Settlement Class consisting of all persons or entities who purchased
or otherwise acquired publicly traded common stock of GTT from February 26, 2018 to August
7, 2019, inclusive, and who were damaged thereby. Excluded from the Settlement Class are
Defendants, the Officers and directors of GTT at all relevant times, and all such excluded
persons’ Immediate Family members, legal representatives, heirs, agents, affiliates, predecessors,

successors and assigns, and any entity in which any excluded person has or had a controlling
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interest. Also excluded from the Settlement Class are those persons who file valid and timely
requests for exclusion in accordance with paragraph 13 below.

2. Class Findings: Solely for purposes of the proposed Settlement of this Action,
the Court finds that each element required for certification of the Settlement Class pursuant to
Rule 23 of the Federal Rules of Civil Procedure has been met: (a) the members of the Settlement
Class are so numerous that their joinder in the Action would be impracticable; (b) there are
questions of law and fact common to the Settlement Class which predominate over any
individual questions; (c) the claims of Lead Plaintiff in the Action are typical of the claims of the
Settlement Class; (d) Lead Plaintiff and Lead Counsel have and will fairly and adequately
represent and protect the interests of the Settlement Class; and (e) a class action is superior to
other available methods for the fair and efficient adjudication of the Action.

3. The Court hereby finds and concludes that pursuant to Rule 23 of the Federal
Rules of Civil Procedure, and for the purposes of the Settlement only, Lead Plaintiff City of
Atlanta Police Pension Fund and City of Atlanta Firefighters’ Pension Fund is an adequate class
representative and certifies it as Class Representative for the Settlement Class. The Court also
appoints Saxena White as Class Counsel and Cohen Milstein as Liaison Class Counsel for the
Settlement Class, pursuant to Rule 23(g) of the Federal Rules of Civil Procedure.

4, Preliminary Approval of the Settlement: The Court hereby preliminarily
approves the Settlement, as embodied in the Stipulation, as being fair, reasonable, and adequate
to the Settlement Class, subject to further consideration at the Settlement Hearing to be
conducted as described below.

5. Settlement Hearing: The Court will hold a settlement hearing (the “Settlement

Hearing”) on [April 23, 2021] at__:__ _-m. at the United States District Court for the Eastern
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District of Virginia, Albert V. Bryan United States Courthouse, 401 Courthouse Square, Room
800, Alexandria, VA 22314, for the following purposes: (a) to determine whether the proposed
Settlement on the terms and conditions provided for in the Stipulation is fair, reasonable, and
adequate to the Settlement Class, and should be approved by the Court; (b) to determine whether
a Judgment, in a form identical or substantially similar to the Judgment attached as Exhibit B to
the Stipulation, should be entered dismissing the Action with prejudice as against the Defendant
Releasees; (c) to determine whether the proposed Plan of Allocation for distribution of the
proceeds of the Settlement is fair and reasonable and should be approved; (d) to determine
whether the motion by Lead Plaintiff for an award of attorneys’ fees and reimbursement of
Litigation Expenses should be approved; and (e) to consider any other matters that may be
properly brought before the Court in connection with the Settlement. Notice of the Settlement
and the Settlement Hearing shall be given to Settlement Class Members as set forth in paragraph
7 of this Order.

6. The Court may adjourn the Settlement Hearing without further notice to the
Settlement Class, and may approve the proposed Settlement with such modifications as the
Parties may agree to in writing, if appropriate, without further notice to the Settlement Class.

7. Retention of Claims Administrator and Manner of Giving Notice: Lead
Counsel is hereby authorized to retain JND Legal Administration (““JND” or the “Claims
Administrator”) to supervise and administer the notice procedure in connection with the
proposed Settlement as well as the processing of Claims as more fully set forth below. Notice of
the Settlement and the Settlement Hearing shall be given by Lead Counsel as follows:

a) within five (5) business days of the date of entry of this Order, GTT shall provide

or cause to be provided to the Claims Administrator (at no cost to the Settlement Fund, Lead
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Counsel or the Claims Administrator) records reasonably available to GTT or its transfer agent
concerning the identity and last known address of Settlement Class Members, in electronic form
or other form as is reasonably available to GTT or its transfer agent, which information the
Claims Administrator shall treat and maintain as confidential;

b) not later than twenty (20) business days after the date of entry of this Order (the
“Notice Date”), the Claims Administrator shall cause a copy of the Notice and the Claim Form,
substantially in the forms attached hereto as Exhibits A-1 and A-2, respectively (the “Notice
Packet”), to be mailed by first-class mail to potential Settlement Class Members at the addresses
set forth in the records which GTT caused to be provided, or who otherwise may be identified
through further reasonable effort;

c) contemporaneously with the mailing of the Notice Packet, the Claims
Administrator shall cause copies of the Notice and the Claim Form to be posted on a website to
be developed for the Settlement, from which copies of the Notice and Claim Form can be
downloaded;

d) not later than ten (10) business days after the Notice Date, the Claims
Administrator shall cause the Summary Notice, substantially in the form attached hereto as
Exhibit A-3, to be published once in Jnvestor’s Business Daily and to be transmitted once over
the PR Newswire; and

e) not later than seven (7) calendar days prior to the Settlement Hearing, Lead
Counsel shall file with the Court proof, by affidavit or declaration, of such mailing and
publication.

8. Approval of Form and Content of Notice: The Court (a) approves, as to form

and content, the Notice, the Claim Form, and the Summary Notice, attached hereto as Exhibits
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A-1, A-2, and A-3, respectively, and (b) finds that the mailing and distribution of the Notice and
Claim Form and the publication of the Summary Notice in the manner and form set forth in
paragraph 7 of this Order (i) is the best notice practicable under the circumstances; (ii)
constitutes notice that is reasonably calculated, under the circumstances, to apprise Settlement
Class Members of the pendency of the Action, of the effect of the proposed Settlement
(including the Releases to be provided thereunder), of Lead Counsel’s motion for an award of
attorneys’ fees and reimbursement of Litigation Expenses, of their right to object to the
Settlement, the Plan of Allocation or Lead Counsel’s motion for attorneys’ fees and
reimbursement of Litigation Expenses, of their right to exclude themselves from the Settlement
Class, and of their right to appear at the Settlement Hearing; (iii) constitutes due, adequate and
sufficient notice to all persons and entities entitled to receive notice of the proposed Settlement;
and (iv) satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure, the United
States Constitution (including the Due Process Clause), the Private Securities Litigation Reform
Act of 1995, 15 U.S.C. § 78u-4, as amended, and all other applicable laws and rules. The date
and time of the Settlement Hearing shall be included in the Notice and Summary Notice before
they are mailed and published, respectively.

9. Nominee Procedures: Brokers and other nominees who purchased or otherwise
acquired GTT common stock during the Settlement Class Period for the benefit of another
person or entity shall either (a) within ten (10) business days of receipt of the Notice, request
from the Claims Administrator sufficient copies of the Notice Packet to forward to all such
beneficial owners, and within ten (10) business days of receipt of those Notice Packets, forward
them to all such beneficial owners; or (b) within ten (10) business days of receipt of the Notice,

send a list of the names and addresses of all such beneficial owners to the Claims Administrator,
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in which event the Claims Administrator shall promptly mail the Notice Packet to such beneficial
owners. Upon full compliance with this Order, such nominees may obtain reimbursement of
their reasonable expenses incurred in complying with this Order by providing the Claims
Administrator with proper documentation supporting the expenses for which reimbursement is
sought. Such properly documented expenses incurred by nominees in compliance with the terms
of this Order shall be paid from the Settlement Fund, with any disputes as to the reasonableness
or documentation of expenses incurred subject to review by the Court.

10. Participation in the Settlement: Settlement Class Members who wish to
participate in the Settlement and to be potentially eligible to receive a distribution from the Net
Settlement Fund must complete and submit a Claim Form in accordance with the instructions
contained therein. Unless the Court orders otherwise, all Claim Forms must be postmarked or be
submitted online via the Settlement website no later than one hundred (100) calendar days after
the Notice Date. Notwithstanding the foregoing, Lead Counsel may, at their discretion, accept
for processing late Claims provided such acceptance does not delay the distribution of the Net
Settlement Fund to the Settlement Class. By submitting a Claim, a person or entity shall be
deemed to have submitted to the jurisdiction of the Court with respect to his, her, or its Claim
and the subject matter of the Settlement.

11. Each Claim Form submitted must satisfy the following conditions: (a) it must be
properly completed, signed, and submitted in a timely manner in accordance with the provisions
of the preceding paragraph; (b) it must be accompanied by adequate supporting documentation
for the transactions and holdings reported therein, in the form of broker confirmation slips,
broker account statements, an authorized statement from the broker containing the transactional

and holding information found in a broker confirmation slip or account statement, or such other
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documentation as is deemed adequate by Lead Counsel or the Claims Administrator; (c) if the
person executing the Claim Form is acting in a representative capacity, a certification of his, her,
or its current authority to act on behalf of the Settlement Class Member must be included in the
Claim Form to the satisfaction of Lead Counsel or the Claims Administrator; and (d) the Claim
Form must be complete and contain no material deletions or modifications of any of the printed
matter contained therein, and must be signed under penalty of perjury.

12. Any Settlement Class Member who or which does not timely and validly submit a
Claim Form or whose Claim is not otherwise approved by the Court: (a) shall be deemed to have
waived his, her, or its right to share in the Net Settlement Fund; (b) shall be forever barred from
participating in any distributions therefrom; (c) shall be bound by the provisions of the
Stipulation and the Settlement and all proceedings, determinations, orders and judgments in the
Action relating thereto, including, without limitation, the Judgment and the Releases provided
for therein, whether favorable or unfavorable to the Settlement Class; and (d) will be
permanently barred and enjoined from commencing, maintaining, or prosecuting any of the
Released Plaintiff's Claims against each and ail of the Defendant Releasees, as more fully
described in the Stipulation and Notice. Notwithstanding the foregoing, late Claim Forms may
be accepted for processing as set forth in paragraph 10 above.

13. Exclusion From the Settlement Class: Any member of the Settlement Class
who wishes to exclude himself, herself, or itself from the Settlement Class must request
exclusion in writing within the time and in the manner set forth in the Notice, which shall
provide that: (a) any such request for exclusion from the Settlement Class must be mailed or
delivered such that it is received no later than twenty-one (21) calendar days prior to the

Settlement Hearing, to: G77 Securities Litigation, EXCLUSIONS, c/o JND Legal
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Administration, PO Box 91247, Seattle, WA 98111 and (b) each request for exclusion must
(i) state the name, address, and telephone number of the person or entity requesting exclusion,
and in the case of entities, the name and telephone number of the appropriate contact person;
(il) state that such person or entity “requests exclusion from the Settlement Class in Plymouth
County Retirement System v. GIT Communications, Inc. et al., 1:19-cv-00982-CMH-MSN (E.D.
Va.)”; (iii) state the number of shares of GTT common stock that the person or entity requesting
exclusion purchased/acquired and sold during the Settlement Class Period, as well as the dates
and prices of each such purchase/acquisition and sale, and the number of shares held at the
beginning of the Settlement Class Period; and (iv) be signed by the person or entity requesting
exclusion or an authorized representative. A request for exclusion shall not be effective unless it
provides all the required information and is received within the time stated above, or is otherwise
accepted by the Court.

14. Any person or entity who or which timely and validly requests exclusion in
compliance with the terms stated in this Order and is excluded from the Settlement Class shall
not be a Settlement Class Member, shall not be bound by the terms of the Settlement or any
orders or judgments in the Action, and shall not receive any payment out of the Net Settlement
Fund.

15. Any Settlement Class Member who does not timely and validly request exclusion
from the Settlement Class in the manner stated in this Order: (a) shall be deemed to have waived
his, her, or its right to be excluded from the Settlement Class; (b) shall be forever barred from
requesting exclusion from the Settlement Class in this or any other proceeding; (c) shall be
bound by the provisions of the Stipulation and Settlement and all proceedings, determinations,

orders and judgments in the Action, including, but not limited to, the Judgment and the Releases

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provided for therein, whether favorable or unfavorable to the Settlement Class; and (d) will be
permanently barred and enjoined from commencing, instituting, prosecuting any, or maintaining
any or all of the Released Plaintiff's Claims against any of the Defendant Releasees, as more
fully described in the Stipulation and Notice.

16. Appearance and Objections at Settlement Hearing: Any Settlement Class
Member who does not request exclusion from the Settlement Class may enter an appearance in
the Action, at his, her, or its own expense, individually or through counsel of his, her, or its own
choice, by filing with the Clerk of Court and delivering a notice of appearance to representatives
of both Lead Counsel and Defendants’ Counsel, at the addresses set forth in paragraph 17 below,
such that it is received no later than twenty-one (21) calendar days prior to the Settlement
Hearing, or as the Court may otherwise direct. Any Settlement Class Member who does not
enter an appearance will be represented by Lead Counsel.

17. Any Settlement Class Member who does not request exclusion from the
Settlement Class may file a written objection to the proposed Settlement, the proposed Plan of
Allocation, or Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of
Litigation Expenses and appear and show cause, if he, she, or it has any cause, why the proposed
Settlement, the proposed Plan of Allocation or Lead Counsel’s motion for attorneys’ fees and
reimbursement of Litigation Expenses should not be approved; provided, however, that no
Settlement Class Member shall be heard or entitled to contest the approval of the terms and
conditions of the proposed Settlement, the proposed Plan of Allocation, or the motion for
attorneys’ fees and reimbursement of Litigation Expenses unless that person or entity has filed a
written objection with the Court and served copies of such objection on Lead Counsel and

Defendants’ Counsel at the addresses set forth below such that they are received no later than

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twenty-one (21) calendar days prior to the Settlement Hearing.

Lead Counsel Defendants’ Counsel
Saxena White P.A. Cravath, Swaine & Moore LLP
Lester R. Hooker, Esq. J. Wesley Earnhardt
7777 Glades Road, Suite 300 825 Eighth Ave.
Boca Raton, FL 33434 New York, NY 10019
Office: (561) 206-6708 Office: (212) 474-1138
Fax: (561) 394-3382 Fax: (212) 474-3700
Email: lhooker@saxenawhite.com Email: wearnhardt@cravath.com

18. Any objections, filings and other submissions by the objecting Settlement Class
Member: (a) must state the name, address, and telephone number of the person or entity
objecting and must be signed by the objector; (b) must contain a statement of the Settlement
Class Member’s objection or objections, and the specific reasons for each objection, including
any legal and evidentiary support the Settlement Class Member wishes to bring to the Court’s
attention; and (c) must include documents sufficient to prove membership in the Settlement
Class, including the number of shares of GTT common stock that the objecting Settlement Class
Member purchased/acquired and sold during the Settlement Class Period, as well as the dates
and prices of each such purchase/acquisition and sale, and the number of shares held at the
beginning of the Settlement Class Period, and must be accompanied by adequate supporting
documentation for the transactions and holdings reported therein, in the form of broker
confirmation slips, broker account statements, an authorized statement from the broker
containing the transactional and holding information found in a broker confirmation slip or
account statement. Objectors who enter an appearance and desire to present evidence at the
Settlement Hearing in support of their objection must include in their written objection or notice
of appearance the identity of any witnesses they may call to testify and any exhibits they intend

to introduce into evidence at the hearing.

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19. Any Settlement Class Member who or which does not make his, her, or its
objection in the manner provided herein shall be deemed to have waived his, her, or its right to
object to any aspect of the proposed Settlement, the proposed Plan of Allocation, and Lead
Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses and
shall be forever barred and foreclosed from objecting to the fairness, reasonableness, or
adequacy of the Settlement, the Plan of Allocation, or the requested attorneys’ fees and
Litigation Expenses, or from otherwise being heard concerning the Settlement, the Plan of
Allocation, or the requested attorneys’ fees and Litigation Expenses in this or any other
proceeding.

20. Stay: Until otherwise ordered by the Court, the Court stays all proceedings in the
Action other than proceedings necessary to carry out or enforce the terms and conditions of the
Stipulation.

21. Settlement Administration Fees and Expenses: All reasonable costs incurred
in identifying Settlement Class Members and notifying them of the Settlement as well as in
administering the Settlement shall be paid as set forth in the Stipulation without further order of
the Court.

22. Settlement Fund: The contents of the Settlement Fund held by The Huntington
National Bank for which The Huntington National Bank will serve as the Escrow Agent, shall be
deemed and considered to be in custodia legis of the Court, and shall remain subject to the
jurisdiction of the Court, until such time as they shall be distributed pursuant to the Stipulation or
further order(s) of the Court.

23. Taxes: Lead Counsel are authorized and directed to prepare any tax returns and

any other tax reporting form for or in respect to the Settlement Fund, to pay from the Settlement

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Fund any Taxes owed with respect to the Settlement Fund, and to otherwise perform all
obligations with respect to Taxes and any reporting or filings in respect thereof without further
order of the Court in a manner consistent with the provisions of the Stipulation.

24. Termination of Settlement: If the Settlement is terminated as provided in the
Stipulation, the Settlement is not approved, or the Effective Date of the Settlement otherwise
fails to occur, this Order shall be vacated, rendered null and void, and be of no further force and
effect, except as otherwise provided by the Stipulation, and this Order shall be without prejudice
to the rights of Lead Plaintiff, the other Settlement Class Members, and Defendants, and the
Parties shall revert to their respective positions in the Action as of November 6, 2020, as
provided in the Stipulation.

25. Use of this Order: Neither this Order, the Stipulation (whether or not
consummated), including the exhibits thereto and the Plan of Allocation contained therein (or
any other plan of allocation that may be approved by the Court), the Supplemental Agreement,
and the documents prepared to effectuate this Settlement, the negotiations leading to the
execution of the Stipulation, nor any proceedings taken pursuant to or in connection with the
Stipulation, or approval of the Settlement (including any arguments proffered in connection
therewith):

(a) shall (i) be offered against any of the Defendant Releasees as evidence of, or

construed as, or deemed to be evidence of any presumption, concession, or admission by

any of the Defendant Releasees with respect to, (aa) the truth of any allegations by Lead

Plaintiff or any Settlement Class Member; (bb) the validity of any claim that was or could

have been asserted in the Action or in any other litigation; (cc) the deficiency of any

defense that has been or could have been asserted in this Action or in any other litigation;

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(dd) any liability, negligence, fault, or other wrongdoing of any kind of any of the
Defendant Releasees; or (ee) any damages suffered by Lead Plaintiff or the Settlement
Class; or (ii) in any way referred to for any other reason as against any of the Defendant
Releasees, in any civil, criminal, or administrative action or proceeding (including any
arbitration), other than such proceedings as may be necessary to effectuate the provisions
of the Stipulation;

(b) shall be (i) offered against any of the Plaintiff Releasees, as evidence of, or construed
as, or deemed to be evidence of any presumption, concession, or admission by any of the
Plaintiff Releasees (aa) that any of their claims are without merit, that any of the
Defendant Releasees had meritorious defenses, or that damages recoverable under the
Second Amended Complaint or any complaint filed in this Action would not have
exceeded the Settlement Amount; or (bb) with respect to any liability, negligence, fault,
or wrongdoing of any kind; or (ii) in any way referred to for any other reason as against
any of the Plaintiff Releasees, in any civil, criminal, or administrative action or
proceeding (including any arbitration), other than such proceedings as may be necessary
to effectuate the provisions of the Stipulation; or

(c) shall be construed against any of the Releasees as an admission, concession, or
presumption that the consideration to be given under the Settlement represents the
amount which could be or would have been recovered after trial; provided, however, that
if the Stipulation is approved by the Court, the Parties and the Releasees and their
respective counsel may refer to it to effectuate the protections from liability granted

thereunder or otherwise to enforce the terms of the Settlement.

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26. Supporting Papers: Lead Plaintiff and Lead Counsel shall file the opening
papers in support of the proposed Settlement, the Plan of Allocation, and their motion for an
award of attorneys’ fees and reimbursement of Litigation Expenses no later than thirty-five (35)
calendar days prior to the Settlement Hearing; and Lead Plaintiff and Lead Counsel are
authorized to file reply papers, which shall be filed no later than seven (7) calendar days prior to
the Settlement Hearing.

27.  CAFA Notice: As set forth in the Stipulation and the Class Action Fairness Act
of 2005 (“CAFA”), 28 U.S.C. § 1715, GTT shall timely serve a CAFA notice within ten (10)
calendar days of the filing of this Stipulation with the Court, and shall provide Lead Counsel
with a copy of such notice within five (5) calendar days of such service.

28. The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement.

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SO ORDERED this 29 tay of Ve , 202.

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The Honorable Claude M. Hilton
United States District Judge

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